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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

                 Plaintiff,

 v.

 1. MICHAEL AARON TEW;

 2. KIMBERLEY ANN TEW; and
    a/k/a Kimberley Vertanen

 3. JONATHAN K. YIOULOS,


                 Defendants.


                   ENTRY OF APPEARANCE OF FORFEITURE COUNSEL

      To:        The clerk of court and all parties of record

                 I hereby certify that I am a member in good standing of the bar of this court, and I

      appear in this case as counsel for the United States of America.

            DATED at Denver, Colorado this 25th day of July 2024.

                                                MATTHEW T. KIRSCH
                                                Acting United States Attorney

                                                s/ Laura B. Hurd
                                                Laura B. Hurd
                                                Assistant United States Attorney
                                                United States Attorney’s Office
                                                1801 California Street, Suite 1600
                                                Denver, Colorado 80202
                                                Telephone: 303-454-0100
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 25th day of July 2024, I electronically filed the foregoing with
 the Clerk of Court using the ECF system which will send notice to all counsel of record.

                                                       s/ Sheri Gidan
                                                       FSA Federal Paralegal
                                                       Office of the U.S. Attorney
